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 4
                            UNITED STATES DISTRICT COURT
 5                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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          LVB-OGDEN MARKETING, LLC,
 7
                                 Plaintiff,
 8                                                        C18-243 TSZ
               v.
 9                                                        MINUTE ORDER
          DAVID S. BINGHAM, et al.,
10
                                 Defendants.
11
          The following Minute Order is made by direction of the Court, the Honorable
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     Thomas S. Zilly, United States District Judge:
13         (1)    Counsel are DIRECTED to be prepared to discuss at tomorrow’s hearing,
   see docket no. 69, whether this case should be dismissed for lack of diversity jurisdiction
14 in light of Plaintiff’s Second Amended Corporate Disclosure Statement, docket no. 77.
   See 3123 SMB LLC v. Horn, 880 F.3d 461, 465 (9th Cir. 2018) (“For purposes of
15 diversity jurisdiction, a limited liability company ‘is a citizen of every state of which its
   owners/members are citizens.’” (quoting Johnson v. Columbia Props. Anchorage, LP,
16 437 F.3d 894, 899 (9th Cir. 2006)); Spesock v. U.S. Bank N.A., No. C18-0092JLR, 2018
   U.S. Dist. LEXIS 23521, at *2–5 (W.D. Wash. Feb. 13, 2018).
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           (2)    The Clerk is directed to send a copy of this Minute Order to all counsel of
18 record.

19         Dated this 2nd day of May, 2018.

20                                                    William M. McCool
                                                      Clerk
21
                                                      s/Karen Dews
22                                                    Deputy Clerk

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     MINUTE ORDER - 1
